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             EXHIBIT A
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA, et al.,

                      Plaintiffs,                   Case No. 1:20-cv-03010-APM

v.                                                  HON. AMIT P. MEHTA
GOOGLE LLC,

                      Defendant.




STATE OF COLORADO, et al.,

                      Plaintiffs,                   Case No. 1:20-cv-03715-APM

v.                                                  HON. AMIT P. MEHTA
GOOGLE LLC,

                      Defendant.



             PLAINTIFFS’ THIRD JOINT REQUEST FOR PRODUCTION
                OF DOCUMENTS TO DEFENDANT GOOGLE LLC

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs in

 the two actions request that Defendant Google LLC (Google) produce the documents

 requested below, in accordance with Local Rule 26.2(d) of the U.S. District Court for the

 District of Columbia, no later than 30 days after service of this request or at any other time

 or place counsel for the parties may agree or the Court may direct in the Case Management

 Order or otherwise. Documents shall be produced at the office of the U.S. Department of

 Justice, Antitrust Division, Technology and Digital Platforms Section, 450 Fifth Street NW,

 7100, Washington, D.C. 20530, or at any other place counsel for the parties may agree.



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                            I NSTRUCTIONS AND DEFINITIONS

       1.       Plaintiffs incorporate all instructions and definitions in the prior requests for

production to Google in United States of America, et al. v. Google LLC, 20-cv-3010 (D.D.C.).

       2.       “User-side Data” means all data that can be obtained from users in the United

States, directly through a search engine’s interaction with the user’s Device, including software

running on that Device, by automated means. User-side Data includes information Google

collects when answering commercial, tail, and local queries. User-side Data may also include

data sets used to train or fine-tune Google’s ranking and retrieval components, as well as

artificial intelligence models used for Google’s AI Product.




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                               REQUESTS FOR PRODUCTION


       1.      Produce all documents supporting Google’s Proposed Final Judgment.

       2.      Produce all agreements between Google and Apple related to Apple’s iCloud.

       3.      From January 1, 2022 to the present, produce Google Display Network (“GDN”)

referral data (or any predecessor data) separately for each referrer, on a monthly basis,

aggregated at the level of each unique combination of month, country, OS, browser, search type,

and signed-in status.

       4.      From January 1, 2022 to the present, produce all text messages between Peter

Fitzgerald and Jay Kim.

       5.      Produce all executed agreements related to Google’s investment in Anthropic in

or around January 2025 as well as documents sufficient to show Google’s strategy related to the

investment.

       6.      Produce a spreadsheet or similar document sufficient to show all the available

fields maintained by Google in each of the below databases and datasets, and a corresponding

data dictionary for each respective database and dataset.

               a. GWS Logs; and

               b. QSessions.

       7.      Produce a spreadsheet or similar document sufficient to show all the available

fields used for the data used to train or create the Google systems listed in subparts (a)-(g). For

each dataset, include a corresponding data dictionary that explains how each field is defined and

used. This data dictionary should at least: (1) provide field names and descriptions, (2) specify

the data types, (3) outline permissible or expected value ranges and formats, (4) describe the

purpose or function of each field in the model or training process, and (5) identify any



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transformations, preprocessing, or aggregations that are performed on the data including any

sampling methodology employed to obtain the data set.

                a. Navboost (specifically all fields for the “13 months of data” identified in the

                    Fox Report);

                b. Glue;

                c. RankBrain (specifically all fields for the “120 days data” identified in the Fox

                    Report);

                d. DeepRank (specifically all fields for the “70 days data” identified in the Fox

                    Report);

                e. QBST (specifically all fields for the “Navboost + 12 months of data”

                    identified in the Fox Report);

                f. Term-Weighting (specifically all fields for the “12 months of data” identified

                    in the Fox Report); and

                g. RankEmbedBERT (specifically all fields for the “70 days of data” identified

                    in the Fox Report).

        8.      Produce technical documentation sufficient to show which User-Side Data is

used, any considerations of privacy or privacy-protection mechanisms for this use, and how often

this data is refreshed, to (a) train and (b) fine tune:

                a. Google’s AI models to generate summaries for Google’s AI Overview;

                b. Google’s retrieval models that are used to retrieve data when generating

                    summaries for Google’s AI Overview;

                c. Google’s AI models to generate responses to queries submitted via Google’s

                    Circle to Search functionality; and




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               d. Google’s AI models to operate as the Gemini chatbot.

       For the avoidance of doubt the information produced in response to 8(a)-(c) shall include

       documents sufficient to show all the available fields for the data used for such purpose,

       along with a corresponding data dictionary.

       9.      Produce technical documentation sufficient to show which User-Side Data is

used, any considerations of privacy or privacy-protection mechanisms for this use, and how often

this data is refreshed, in: (a) Google’s Search Index; (b) Google’s ad selection and

personalization processes; and (c) Google’s web-crawling processes. For the avoidance of doubt

this information shall include documents sufficient to show all the available fields for the data

used for such purpose, along with a corresponding data dictionary.

       10.     Produce technical documentation sufficient to show how and when an “AI

Overview” is generated on a per-query basis in response to user queries on Google Search.

       11.     Separately by month, operating system, and device type, produce data sufficient

to show the number and fraction of searches on Google Search that trigger an AI Overview,

whether the searches are commercial or non-commercial, and any tracked metrics related to user

interactions with the AI Overview.

       12.     Produce documents sufficient to show Google’s policies, protocols, procedures,

and tools for requesting, granting, and denying employee access to Google’s search index.

       13.     Produce documents sufficient to show the Company’s internal technical

documentation and policies regarding web crawling, including legal compliance, ethics, PII

handling, sensitive content policies, malware policies and taxonomies, and mechanisms like

robots.txt adherence, spam detection, intellectual property compliance, and internal audits are

implemented and audited.




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       14.     From January 1, 2022, to present, produce documents sufficient to show the

resources committed to developing and maintaining Google’s web crawling infrastructure,

Search Index, and Search Results API, including the number of engineers and total engineering

time spent on each project.

       15.     Produce documents sufficient to show any configuration files or build scripts

needed to compile and install ChromeOS.

       16.     From January 1, 2022, to present, produce documents sufficient to show the

server and deployment footprint for Chrome, including system resources required to operate the

application, number of servers, and required memory, latency requirements, configuration files,

network bandwidth requirements, and security-related services.

       17.     From 2022 to present, produce copies of security issue tracking logs and internal

procedures and policies related to managing security of Chrome and Chromium.

       18.     Produce documents sufficient to show the Company’s OKRs, product roadmaps,

business planning documents describing features included in Chrome but not in open-source

Chromium repository.

       19.     From 2022 to present, produce documents sufficient to show the server capacity,

deployment, and resource usage dedicated to Google Search.

       20.     From 2022 to present, produce documents sufficient to show the monthly costs of

building and running data centers for Google Search, AI, Chrome, and Search Ads, including

operational costs, management and overhead costs, and amortized capital expenses.

       21.     From 2022 to present, produce document sufficient to show the quantity and

contents of data used in AI overview LLM, as well as one copy of any studies, benchmarks, or

internal analyses of how search query data affects model performance.




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       22.     From 2022 to present, produce documents sufficient to show profit and loss

information for each Chrome product (e.g., Chrome browser, Chrome OS, Chrome Enterprise,

Chromium, Chromebooks, Chromecast, Chrome Web Store), to at least the level of granularity

identified in GOOG-DOJ-30419395.

       23.     From 2025 to 2027, produce documents sufficient to show projected profit and

loss information for each Chrome product (e.g., Chrome browser, Chrome OS, Chrome

Enterprise, Chromium, Chromebooks, Chromecast, Chrome Web Store).

       24.     For each Chrome product, produce documents sufficient to show: (a) the business

and revenue generation model for the product, (b) short-term or long-term strategies or

objectives, (c) current or future product development efforts, (d) current and historical product

usage metrics from 2019 to present, including, to the extent applicable, number of users, free vs.

paid users, avg. revenue per user, churn rate, and any competitive analysis and benchmarking

conducted for these metrics, and (e) any indirect revenue allocation to the product.

       25.     Produce documents sufficient to show any plans, potential plans, or consideration

of establishing a separate Chrome business unit.

       26.     Produce documents sufficient to show the technical architecture, workflows, and

API specifications used to syndicate organic search results, search features, and/or Search Text

Ads, including data schemas, authentication protocols, latency and reliability requirements, and

performance benchmarks.

       27.     Produce documents sufficient to show the metadata, targeting parameters,

audience segmentation methods, and contextual targeting algorithms used to match syndicated

search ads to queries and audiences.




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       28.      Produce documents sufficient to show the technical architecture and data

pipelines required for syndicating Google Search data, including high-level and detailed

architecture diagrams, data flow diagrams illustrating ingestion, processing, transformation, and

syndication of search data, and descriptions of any APIs, SDKs, or other interfaces used for

syndication.

       29.      Produce a copy of each architectural diagram, technical specifications and other

documentation describing the deployment architecture of the search result and search feature

infrastructure, data center topology and distribution, points of presence, and edge nodes,

including the infrastructure used for any databases that store and organize information about

websites and their content that is crawled from the web, gathered from data feeds, or collected

via partnerships, or content from any Google-owned website, property, or other operated

platform (e.g., all Google owned or operated properties such as YouTube) from which Google

selects information to provide results to users in response to general search queries.

       30.      Produce documents sufficient to show the technical architecture of each material

search feature (e.g., Knowledge Graph, featured snippets, image packs), including data structure

and entity relationships, data ingestion and processing pipelines, query understanding and

processing systems, and results ranking and relevance algorithms, including system performance

and optimization documents related to query processing optimization strategies, indexing and

retrieval mechanisms, caching strategies and effectiveness metrics, and search quality

improvement documentation.

       31.      Produce documents sufficient to show the technical architecture, including

workflows and API specifications, useable to provide syndicators with access to User-Side Data

and Ads Data.




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       32.     Produce documents sufficient to show how, for Request Nos. 26-31, the relevant

information is usable to support the function of any query-based AI Product, including both

cloud-based and on-device AI.

       33.     Produce documents sufficient to show the total annual marketing expenses for

Google’s general search service, including the total expenses for each different marketing

channels used therein, from 2022 to present.

       34.     Produce documents sufficient to show Google’s analysis, plans, potential plans, or

consideration (if any) of the provision of anything of value to a user of Google Search or the

provision of anything of value by another GSE to its users, from 2022 to present.




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Dated: January 27 2025             Respectfully submitted,

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